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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS

 

 

- x
SUNRISE TECHNOLOGIES, INC., Civil Action No. l:l 5-eV-l 1545-NMG
Plaintiff, :
Vs.
CIMCON LIGHTING, INC.,
Defendant.
x

AGREE[LMQTJQNI_O_DISMI§SMIH.BREHLDI§E

Pursuant to the Federal Rules of Civil Procedure, Plaintiff Sunrise 'l`echnologies, Ine.
(“Sunrise”) and CIMCON Lighting, Inc. (“CIMCON”), represented by their attorneys, hereby
stipulate and agree to as follows:

1. The Complaint filed by Sunrise against CIMCON in the above-captioned case,
including all claims and causes of action asserted by Plaintiff Sunrise against CIMCON, are
dismissed with prejudice to the Plaintiff to re-f`lling same and without costs.

2. AII Counterclaims filed by CIMCON against Plaintiff are dismissed with prejudice to
re-filing same and Without costs.

3. Each of the parties to this Agreed Motion is to bear its own costs and fees, including
attorney’s fees.

So agreed and stipulated.

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